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                      UNITED STATES COURT OF APPEALS
                          FOR THE EIGHTH CIRCUIT

                                         No: 20-1488

                                       Jessica Langford

                                                    Appellee

                                               v.

                                  City of St. Louis, Missouri

                                                    Appellant

______________________________________________________________________________

       Appeal from U.S. District Court for the Eastern District of Missouri - St. Louis
                                  (4:18-cv-02037-HEA)
______________________________________________________________________________

                                         MANDATE

       In accordance with the opinion and judgment of 07/06/2021, and pursuant to the

provisions of Federal Rule of Appellate Procedure 41(a), the formal mandate is hereby issued in

the above-styled matter.

                                                     September 22, 2021




Clerk, U.S. Court of Appeals, Eighth Circuit




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